                    Case 23-02171            Doc 1       Filed 07/24/23 Entered 07/24/23 17:28:25                              Desc Main
                                                           Document     Page 1 of 32

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF SOUTH CAROLINA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Genesis Freightway, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1 Windsor Cove, Suite 108A
                                  Columbia, SC 29223
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Richland                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                    Case 23-02171                Doc 1      Filed 07/24/23 Entered 07/24/23 17:28:25                                    Desc Main
                                                              Document     Page 2 of 32
Debtor    Genesis Freightway, LLC                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4885

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                    Case 23-02171                   Doc 1         Filed 07/24/23 Entered 07/24/23 17:28:25                                Desc Main
                                                                    Document     Page 3 of 32
Debtor    Genesis Freightway, LLC                                                                         Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                    Case 23-02171    Doc 1        Filed 07/24/23 Entered 07/24/23 17:28:25                      Desc Main
                                                    Document     Page 4 of 32
Debtor   Genesis Freightway, LLC                                                     Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                    Case 23-02171            Doc 1       Filed 07/24/23 Entered 07/24/23 17:28:25                                Desc Main
                                                           Document     Page 5 of 32
Debtor    Genesis Freightway, LLC                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 24, 2023
                                                  MM / DD / YYYY


                             X   /s/ Ben F. Cooper                                                        Ben F. Cooper
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X   /s/ Jane H. Downey                                                        Date July 24, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jane H. Downey 5242
                                 Printed name

                                 Baker Donelson
                                 Firm name

                                 1501 Main St., Ste 310
                                 Columbia, SC 29201
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     803-251-8814                  Email address      jdowney@bakerdonelson.com

                                 5242 SC
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
              Case 23-02171               Doc 1        Filed 07/24/23 Entered 07/24/23 17:28:25                            Desc Main
                                                         Document     Page 6 of 32




Fill in this information to identify the case:

Debtor name         Genesis Freightway, LLC

United States Bankruptcy Court for the:     DISTRICT OF SOUTH CAROLINA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       July 24, 2023                   X /s/ Ben F. Cooper
                                                           Signature of individual signing on behalf of debtor

                                                            Ben F. Cooper
                                                            Printed name

                                                            CEO
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                   Case 23-02171                            Doc 1               Filed 07/24/23 Entered 07/24/23 17:28:25                                                           Desc Main
                                                                                  Document     Page 7 of 32
 Fill in this information to identify the case:

 Debtor name            Genesis Freightway, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF SOUTH CAROLINA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                294.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $                294.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           532,675.10


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            74,975.75


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             607,650.85




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
                  Case 23-02171              Doc 1     Filed 07/24/23 Entered 07/24/23 17:28:25                                 Desc Main
                                                         Document     Page 8 of 32
Fill in this information to identify the case:

Debtor name          Genesis Freightway, LLC

United States Bankruptcy Court for the:       DISTRICT OF SOUTH CAROLINA

Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
         Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Wells Fargo                                       Checking                                                                         $251.00




           3.2.     Wells Fargo - Savings                                                                                                                $43.00



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                        $294.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


Part 4:           Investments
13. Does the debtor own any investments?
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                                        page 1
               Case 23-02171                Doc 1     Filed 07/24/23 Entered 07/24/23 17:28:25                      Desc Main
                                                        Document     Page 9 of 32
Debtor        Genesis Freightway, LLC                                                      Case number (If known)
              Name



       No. Go to Part 5.
       Yes Fill in the information below.


Part 5:       Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       No. Go to Part 6.
       Yes Fill in the information below.


Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

       No. Go to Part 7.
       Yes Fill in the information below.


Part 7:       Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

       No. Go to Part 8.
       Yes Fill in the information below.


Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

       No. Go to Part 9.
       Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

       No. Go to Part 10.
       Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

       No. Go to Part 11.
       Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

       No. Go to Part 12.
       Yes Fill in the information below.

                                                                                                                       Current value of
                                                                                                                       debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

           Net Operating Losses                                                              Tax year                             Unknown


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                   page 2
             Case 23-02171               Doc 1        Filed 07/24/23 Entered 07/24/23 17:28:25               Desc Main
                                                       Document     Page 10 of 32
Debtor      Genesis Freightway, LLC                                                 Case number (If known)
            Name



73.      Interests in insurance policies or annuities

74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)
         2Berry Solutions LLC vs. Genesis Freightway LLC and
         Ben Cooper
         2022CP4005482
         Richland County Fifth Judicial Circuit                                                                          Unknown
         Nature of claim        Counterclaim - Breach of
                                Contract Action
         Amount requested                        Uknown



75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.                                                                                                $0.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
           No
           Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                        page 3
                 Case 23-02171                       Doc 1           Filed 07/24/23 Entered 07/24/23 17:28:25                                         Desc Main
                                                                      Document     Page 11 of 32
Debtor          Genesis Freightway, LLC                                                                             Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                 $294.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                                   $294.00        + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                     $294.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 4
                Case 23-02171                    Doc 1        Filed 07/24/23 Entered 07/24/23 17:28:25                               Desc Main
                                                               Document     Page 12 of 32
Fill in this information to identify the case:

Debtor name         Genesis Freightway, LLC

United States Bankruptcy Court for the:           DISTRICT OF SOUTH CAROLINA

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
      Corporation Service
2.1                                                                                                                         Unknown                     $294.00
      Company                                      Describe debtor's property that is subject to a lien
      Creditor's Name                              Wells Fargo - Checking and Savings
      PO Box 2576
      Springfield, IL 62708
      Creditor's mailing address                   Describe the lien
                                                   UCC-1 (notice only, Debtor does not
                                                   recognize)
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      2019                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative
      priority.                                       Disputed




      Corporation Service
2.2                                                                                                                         Unknown                  Unknown
      Company                                      Describe debtor's property that is subject to a lien
      Creditor's Name                              UCC-1 (notice only, Debtor does not
                                                   recognize)
      PO Box 2576
      Springfield, IL 62708
      Creditor's mailing address                   Describe the lien
                                                   UCC-1
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      2022                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
                 Case 23-02171                    Doc 1       Filed 07/24/23 Entered 07/24/23 17:28:25                               Desc Main
                                                               Document     Page 13 of 32
Debtor       Genesis Freightway, LLC                                                               Case number (if known)
             Name

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative
       priority.                                      Disputed




2.3    Magnus 123 Trust                            Describe debtor's property that is subject to a lien                       Unknown                     $0.00
       Creditor's Name                             To secure performance of Merchant's
                                                   obligations & Company's interest in
       9300 Metcalf Avenue                         Purchased Receivables
       Overland Park, KS 66212
       Creditor's mailing address                  Describe the lien
                                                   UCC-1 (Debtor does not recognize)
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       4/14/2023                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2990
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative
       priority.                                      Disputed




       U.S. Small Business
2.4                                                                                                                         $532,675.10                   $0.00
       Administration                              Describe debtor's property that is subject to a lien
       Creditor's Name                             All assets, including, but not limited to, all
       South Carolina District                     real and personal property, etc
       Office
       1835 Assembly St #358
       Columbia, SC 29201
       Creditor's mailing address                  Describe the lien
                                                   UCC-1
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       8/10/2020                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $532,675.10

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 3
              Case 23-02171                 Doc 1         Filed 07/24/23 Entered 07/24/23 17:28:25                                    Desc Main
                                                           Document     Page 14 of 32
Debtor     Genesis Freightway, LLC                                                             Case number (if known)
           Name

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                              page 3 of 3
                Case 23-02171                 Doc 1          Filed 07/24/23 Entered 07/24/23 17:28:25                                      Desc Main
                                                              Document     Page 15 of 32
Fill in this information to identify the case:

Debtor name        Genesis Freightway, LLC

United States Bankruptcy Court for the:         DISTRICT OF SOUTH CAROLINA

Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                     $0.00      $0.00
          Internal Revenue Service                             Check all that apply.
          PO Box 7346                                             Contingent
          Philadelphia, PA 19101-7346                             Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               notice only
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.2       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                     $0.00      $0.00
          South Carolina Department of                         Check all that apply.
          Revenue                                                 Contingent
          Office of General Counsel                               Unliquidated
          Attn: Bankruptcy Department                             Disputed
          300A Outlet Pointe Blvd.
          Columbia, SC 29210
          Date or dates debt was incurred                      Basis for the claim:
                                                               notice only
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 3
                                                                                                               23186
               Case 23-02171               Doc 1       Filed 07/24/23 Entered 07/24/23 17:28:25                                          Desc Main
                                                        Document     Page 16 of 32
Debtor      Genesis Freightway, LLC                                                         Case number (if known)
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         2Berry Transportation LLC                                    Contingent
         4607 Charlotte Highway
                                                                      Unliquidated
         Clover, SC 29710
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Bowman Trailer Leasing                                       Contingent
         PO Box 433                                                   Unliquidated
         10233 Governor Lane Blvd.                                    Disputed
         Williamsport, MD 21795
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number   8746                    Is the claim subject to offset?     No       Yes


3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $5,122.06
         Capital One                                                  Contingent
         Attn: General Correspondence                                 Unliquidated
         P.O. Box 30285                                               Disputed
         Salt Lake City, UT 84130-0285
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number   3238                    Is the claim subject to offset?     No       Yes


3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $5,271.00
         Daily Underwriters of America                                Contingent
         P.O. Box 39                                                  Unliquidated
         Carlisle, PA 17013                                           Disputed
         Date(s) debt was incurred 07/07/2023
                                                                   Basis for the claim:    Insurance
         Last 4 digits of account number 9276
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         Expansion Capital Group                                      Contingent
         5801 S Corporate Pl
                                                                      Unliquidated
         Sioux Falls, SD 57108
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:    Creditor appears not to have filed a UCC.
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $23,635.52
         Navy Federal Credit Union                                    Contingent
         P.O. Box 3000                                                Unliquidated
         Merrifield, VA 22119-3000                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Credit Card
         Last 4 digits of account number   1527
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $6,361.98
         Navy Federal Credit Union                                    Contingent
         P.O. Box 3000                                                Unliquidated
         Merrifield, VA 22119-3000                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Overdraft
         Last 4 digits of account number   9317
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 2 of 3
               Case 23-02171                  Doc 1         Filed 07/24/23 Entered 07/24/23 17:28:25                                             Desc Main
                                                             Document     Page 17 of 32
Debtor       Genesis Freightway, LLC                                                                Case number (if known)
             Name

3.8       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                 $34,585.19
          WEX/EFS/FLEETONE
          A/R #3770002215825                                                  Contingent
          Portland Office                                                     Unliquidated
          1 Hancock Street                                                    Disputed
          Portland, ME 04101
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number   5724                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the            Last 4 digits of
                                                                                                    related creditor (if any) listed?                  account number, if
                                                                                                                                                       any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                              0.00
5b. Total claims from Part 2                                                                           5b.   +    $                         74,975.75

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                              74,975.75




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 3 of 3
              Case 23-02171               Doc 1        Filed 07/24/23 Entered 07/24/23 17:28:25                                Desc Main
                                                        Document     Page 18 of 32
Fill in this information to identify the case:

Debtor name       Genesis Freightway, LLC

United States Bankruptcy Court for the:     DISTRICT OF SOUTH CAROLINA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
              Case 23-02171               Doc 1      Filed 07/24/23 Entered 07/24/23 17:28:25                             Desc Main
                                                      Document     Page 19 of 32
Fill in this information to identify the case:

Debtor name      Genesis Freightway, LLC

United States Bankruptcy Court for the:    DISTRICT OF SOUTH CAROLINA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Ben F. Cooper               1 Windsor Cove, Suite 108A                                Capital One                        D
                                      Columbia, SC 29223                                                                           E/F       3.3
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
               Case 23-02171              Doc 1       Filed 07/24/23 Entered 07/24/23 17:28:25                                Desc Main
                                                       Document     Page 20 of 32



Fill in this information to identify the case:

Debtor name         Genesis Freightway, LLC

United States Bankruptcy Court for the:    DISTRICT OF SOUTH CAROLINA

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                  Unknown
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                                  Unknown
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                             $2,256,928.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
                 Case 23-02171             Doc 1        Filed 07/24/23 Entered 07/24/23 17:28:25                                    Desc Main
                                                         Document     Page 21 of 32
Debtor       Genesis Freightway, LLC                                                            Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
             Bowman Trailer Leasing                                                                 $31,810.00                Secured debt
             PO Box 433                                                                                                       Unsecured loan repayments
             10233 Governor Lane Blvd.
                                                                                                                              Suppliers or vendors
             Williamsport, MD 21795
                                                                                                                              Services
                                                                                                                              Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                    Value of property

      Bowman Trailer Leasing                           Turned in 15 Trailers                                           7/2023                        $3,300.00
      PO Box 433
      10233 Governor Lane Blvd.
      Williamsport, MD 21795


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                  Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                  Status of case
             Case number                                                           address
      7.1.   Expansion Capital Group LLC               Breach of                   Richland County Fifth                           Pending
             vs Genesis Freightway LLC                 Contract                    Judicial Circuit                                On appeal
             2022CP4004352                                                         1701 Main St
                                                                                                                                   Concluded
                                                                                   Columbia, SC 29201

      7.2.   2Berry Solutions LLC vs.                  Breach of                   Richland County Fifth                           Pending
             Genesis Freightway LLC, et al             Contract                    Judicial Circuit                                On appeal
             2022CP4005482                                                         1701 Main St
                                                                                                                                   Concluded
                                                                                   Columbia, SC 29201

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
                 Case 23-02171            Doc 1       Filed 07/24/23 Entered 07/24/23 17:28:25                                   Desc Main
                                                       Document     Page 22 of 32
Debtor        Genesis Freightway, LLC                                                            Case number (if known)




8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                  Dates given                         Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss          Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received             If not money, describe any property transferred               Dates               Total amount or
               the transfer?                                                                                                                       value
               Address
      11.1.    Baker, Donelson, Bearman, et
               al, PC
               1501 Main St., Ste. 310
               Columbia, SC 29201                                                                                                              $7,878.00

               Email or website address
               https://www.bakerdonelson.com/

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                           Describe any property transferred                     Dates transfers             Total amount or
                                                                                                              were made                            value

13. Transfers not already listed on this statement
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
               Case 23-02171               Doc 1        Filed 07/24/23 Entered 07/24/23 17:28:25                                  Desc Main
                                                         Document     Page 23 of 32
Debtor      Genesis Freightway, LLC                                                              Case number (if known)



    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

             Who received transfer?                    Description of property transferred or                     Date transfer             Total amount or
             Address                                   payments received or debts paid in exchange                was made                           value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and           Last 4 digits of            Type of account or          Date account was                Last balance
              Address                                  account number              instrument                  closed, sold,               before closing or
                                                                                                               moved, or                            transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
                Case 23-02171              Doc 1         Filed 07/24/23 Entered 07/24/23 17:28:25                                 Desc Main
                                                          Document     Page 24 of 32
Debtor      Genesis Freightway, LLC                                                              Case number (if known)




         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

Part 13:    Details About the Debtor's Business or Connections to Any Business

Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 5
                Case 23-02171             Doc 1         Filed 07/24/23 Entered 07/24/23 17:28:25                                   Desc Main
                                                         Document     Page 25 of 32
Debtor      Genesis Freightway, LLC                                                             Case number (if known)



25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Whitmore Accounting Services                                                                                       2019 - Present
                    5507 N Main St
                    Columbia, SC 29203

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        Whitmore Accounting Services                                                                                       2019 - Present
                    5507 N Main St
                    Columbia, SC 29203

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Ben F. Cooper
                    1 Windsor Cove, Suite 108A
                    Columbia, SC 29223
      26c.2.        Whitmore Accounting Services
                    5507 N Main St
                    Columbia, SC 29203

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        U.S. Small Business Administration
                    409 3rd St., SW
                    Washington, DC 20416

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 6
                Case 23-02171            Doc 1         Filed 07/24/23 Entered 07/24/23 17:28:25                               Desc Main
                                                        Document     Page 26 of 32
Debtor      Genesis Freightway, LLC                                                            Case number (if known)



             Name of the person who supervised the taking of the                   Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Ben F. Cooper                          1 Windsor Cove, Suite 108A                          CEO                                     100
                                             Columbia, SC 29223



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Ben F. Cooper
      .    1 Windsor Cove, Suite 108A                                                                           7/17/2022 -
             Columbia, SC 29223                       $70,000.00                                                7/17/2023           Compensation

             Relationship to debtor
             CEO


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 7
               Case 23-02171              Doc 1        Filed 07/24/23 Entered 07/24/23 17:28:25                            Desc Main
                                                        Document     Page 27 of 32
Debtor      Genesis Freightway, LLC                                                             Case number (if known)



Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         July 24, 2023

/s/ Ben F. Cooper                                               Ben F. Cooper
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 8
                Case 23-02171               Doc 1        Filed 07/24/23 Entered 07/24/23 17:28:25                               Desc Main
                                                          Document     Page 28 of 32
B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                               District of South Carolina
 In re       Genesis Freightway, LLC                                                                          Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     7,500.00
             Prior to the filing of this statement I have received                                        $                     7,500.00
             Balance Due                                                                                  $                         0.00

2.    $338.00 of the filing fee has been paid, plus $40.00 for UCCs.

3.    The source of the compensation paid to me was:
                  Debtor             Other (specify):

3.    The source of compensation to be paid to me is:
                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
              any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     July 24, 2023                                                            /s/ Jane H. Downey
     Date                                                                     Jane H. Downey 5242
                                                                              Signature of Attorney
                                                                              Baker Donelson
                                                                              1501 Main St., Ste 310
                                                                              Columbia, SC 29201
                                                                              803-251-8814
                                                                              jdowney@bakerdonelson.com
                                                                              Name of law firm
            Case 23-02171           Doc 1       Filed 07/24/23 Entered 07/24/23 17:28:25                       Desc Main
                                                 Document     Page 29 of 32


                                     LOCAL OFFICIAL FORM 1007-1(b) TO SC LBR 1007-1

                                              United States Bankruptcy Court
                                                     District of South Carolina
 In re   Genesis Freightway, LLC                                                              Case No.
                                                                   Debtor(s)                  Chapter      7


                               CERTIFICATION VERIFYING CREDITOR MATRIX
         The above named debtor, or attorney for the debtor if applicable, hereby certifies pursuant to South Carolina Local
Bankruptcy Rule 1007-1 that the master mailing list of creditors submitted either on computer diskette, electronically filed via
CM/ECF, or conventionally filed in a typed hard copy scannable format which has been compared to, and contains identical
information to, the debtor's schedules, statements and lists which are being filed at this time or as they currently exist in draft form.

         Master mailing list of creditors submitted via:

                  (a)            computer diskette

                  (b)           scannable hard copy
                  (number of sheets submitted       )

                  (c)      X   electronic version filed via CM/ECF




Date:    July 24, 2023                                 /s/ Ben F. Cooper
                                                       Ben F. Cooper/CEO
                                                       Signer/Title

Date: July 24, 2023                                    /s/ Jane H. Downey
                                                       Signature of Attorney
                                                       Jane H. Downey 5242
                                                       Baker Donelson
                                                       1501 Main St., Ste 310
                                                       Columbia, SC 29201
                                                       803-251-8814
                                                       Typed/Printed Name/Address/Telephone

                                                       5242 SC
                                                       District Court I.D. Number
    Case 23-02171   Doc 1   Filed 07/24/23 Entered 07/24/23 17:28:25   Desc Main
                             Document     Page 30 of 32


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                      2BERRY TRANSPORTATION LLC
                      4607 CHARLOTTE HIGHWAY
                      CLOVER SC 29710


                      BEN F. COOPER
                      1 WINDSOR COVE, SUITE 108A
                      COLUMBIA SC 29223


                      BOWMAN TRAILER LEASING
                      PO BOX 433
                      10233 GOVERNOR LANE BLVD.
                      WILLIAMSPORT MD 21795


                      CAPITAL ONE
                      ATTN: GENERAL CORRESPONDENCE
                      P.O. BOX 30285
                      SALT LAKE CITY UT 84130-0285


                      CORPORATION SERVICE COMPANY
                      PO BOX 2576
                      SPRINGFIELD IL 62708


                      DAILY UNDERWRITERS OF AMERICA
                      P.O. BOX 39
                      CARLISLE PA 17013


                      EXPANSION CAPITAL GROUP
                      5801 S CORPORATE PL
                      SIOUX FALLS SD 57108


                      INTERNAL REVENUE SERVICE
                      PO BOX 7346
                      PHILADELPHIA PA 19101-7346


                      MAGNUS 123 TRUST
                      9300 METCALF AVENUE
                      OVERLAND PARK KS 66212


                      NAVY FEDERAL CREDIT UNION
                      P.O. BOX 3000
                      MERRIFIELD VA 22119-3000
Case 23-02171   Doc 1   Filed 07/24/23 Entered 07/24/23 17:28:25   Desc Main
                         Document     Page 31 of 32



                  SOUTH CAROLINA DEPARTMENT OF REVENUE
                  OFFICE OF GENERAL COUNSEL
                  ATTN: BANKRUPTCY DEPARTMENT
                  300A OUTLET POINTE BLVD.
                  COLUMBIA SC 29210


                  U.S. SMALL BUSINESS ADMINISTRATION
                  SOUTH CAROLINA DISTRICT OFFICE
                  1835 ASSEMBLY ST #358
                  COLUMBIA SC 29201


                  WEX/EFS/FLEETONE
                  A/R #3770002215825
                  PORTLAND OFFICE
                  1 HANCOCK STREET
                  PORTLAND ME 04101
           Case 23-02171           Doc 1    Filed 07/24/23 Entered 07/24/23 17:28:25                Desc Main
                                             Document     Page 32 of 32



                                           United States Bankruptcy Court
                                               District of South Carolina
 In re   Genesis Freightway, LLC                                                    Case No.
                                                            Debtor(s)               Chapter     7




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Genesis Freightway, LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Ben F. Cooper
1 Windsor Cove, Suite 108A
Columbia, SC 29223




  None [Check if applicable]




July 24, 2023                                  /s/ Jane H. Downey
Date                                           Jane H. Downey 5242
                                               Signature of Attorney or Litigant
                                               Counsel for Genesis Freightway, LLC
                                               Baker Donelson
                                               1501 Main St., Ste 310
                                               Columbia, SC 29201
                                               803-251-8814
                                               jdowney@bakerdonelson.com
